 

Case 7:18-m]'-`02328 Document 1 Filed in TXSD on 11/09/18 Page 1 of 3

AO 91 (Rev 8/01) CriminalComplaint

United States District Court ,

SOUTHERN DI S TR_T_ CT` OF TEXAS
MCALLEN DIVI S ION

 

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Juan RafaelGarcia-Almaguer Principal ` t Case Number:

YoB: 1975 Mexi¢o y M-PlS-Q{SZ? -M

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
Knowledge and beliet`. On or about November 7, 2018 in Starr L,`Ounty,- m

the Southern District of Tean ' defendants(s) did,.
(T rack Statutory Zjanguage 07 UHense)

knowing or in reckless disregard of the fact that Jose Alfredo Sanchez-Rueda, a citizen of Mexico, and Luis
Fernando Solano-Barrera,'a citizen of Guatemala, along with sixty (60) other undocumented aliens, for a total
of sixty-two (62), who had entered the United States in violation of law, concealed, harbored or shielded from
detection or attempt to concea|, harbor, or shield from detection such aliens in any place, includin`g any
building or means of transportation, To wit; at a residence near Roma, Texas. '

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in violation of Title - 8 United States Code, Section(s) ' 1324(a)(1)(A)(iii) FELONY
I iiarther state that l am a(n) U.S. Sen;ior Border Patrol Agent and that this complaint is.based on the
following facts: ' `

 

_On November 6, 2018, Border Patrol Agents (BPA) received information from illegal aliens (IA), who were in
Border Patrol custody, pertaining to a stash house they were previously held in. The IAs indicated that

g approximately thirty (30) more IAs remained in the stash house. The IAs were able to identify the address of
the stash house to be 947 N. Humberto Street, Boma, Texas.

CONTlNUED: `

Continued on the attached sheet and made a part of this complaint

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Gerardo |Vlonta|vo k Senior Patrol Agent ,

 

 

 

    

Sworn to before me and subscribed in my presence, Printed Name of Complainant

November 8, 2018 ` 3 ' 0 6,01‘" at - _ . '/A/) /"///
Date _ / _1

Juan F. Aianis , U. S. Magistrate Judge //

 

 

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Case 7:18-mi-qawereis@siwes=ersrrraefreeimr8 Pa@e 2 Of 3
SOUTHERN DlSTR|CT OF TEXAS
` MCALLEN, TEXAS

ATTACHMENT TO CR|M|NAL COMPLA|NT:

M-18- 1 323-wl

RE: l Juan Rafae|Garcia-Almaguer

CONT|NUAT|ON:

On November 7, 2018, BPAs initiated surveillance on the stash house, a'BPA observed a maroon
Dodge truck stop outside the house, a male then got off the passenger seat, open the front gate of the
property, and entered the front door of the suspected stash house, Shortly after, the driver of the
Dodge truck drove away towards Efren Ramirez Road. BPAs requested assistance from the
Department of Public Safety (DPS). A DPS Trooper responded and observed the maroon Dodge truck
traveling south on Efren Ramirez. The Trooper conducted a traffic stop on the vehicle for having
abnormally dark window tint. A BPA assisted the Trooper in his traffic stop. The driver was identified
as Juan Rafael GARCIA-Almaguer, a citizen of Mexico. The BPA conducted an immigration check
on GARCIA and determined he was illegally present in the United States. The BPA advised GARCM
of his Miranda Rights, which GARCIA understood. The BPA asked GARCIA about his involvement
With the suspected stash house. GARCIA stated he was not the owner of the house but admitted
dropping off an IA at the stash house, GARCIA further stated he did not know if there were more IAs
inside. ' l

Based upon the aforementioned details, BPAs along with Troopers proceeded to the stash house.
BPAs identified themselves and knocked on the door; a subject, identified as Felipe TOMAS-Damian,
citizen of Mexico, opened'the front door of the house. Through the opened front door, a BPA
observed multiple subjects attempting to hide from view inside the house, The BPA asked TOMAS to
please step out of the house to talk; TOMAS freely walked outside. When asked who was in charge of
the house, TOMAS stated the person in charge wasn?t there at that time, TOMAS also added that he
was staying in the house, The BPA conducted an immigration check on TOMAS and determined that
TOMAS was illegally present in the United States. TOMAS granted consent to search the house,
While maintaining perimeter security of the house, BPAs observed numerous subjects attempting to
abscond through broken windows and doors of the house. Agents made entry to the house and ;
apprehended a total of sixty-two (62) IAs. All subjects freely admitted to being illegally present in the
United States. '

All subjects were placed under arrest and transported to the Rio Grande City Border Patrol `Station for
processing '

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SOUTHERN DlSTR|CT OF TEXAS
McALLEN, TEXAS

ATTAcHMENT To 'chlvllNAL coMPLAlNT:
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RE: Juan Rafael Garcia-Almaguerr

CONT|NUAT|ON:

PRINCIPAL STATEMENT:
At the station, Juan Rafael GARCIA-Almaguer was advised of his Miranda Rights. He stated he
understood his Rights but did not want to provide any further statements without legal counsel.

MATERIAL WITNESSES STATEMENTS:
Jose Alfredo SANCHEZ-Rueda and Luis Fernando SOLANO-Barrera were read their Miranda
rights. Both understood and agreed to provide a sworn statement

» SANCHEZ, a citizen of Mexico, stated that after crossing the river, he boarded an Expedition and
was taken to the house where he was apprehended. SANCHEZ claimed that when he arrived to the
stash house, there was approximately forty (40) other subjects inside the house. SANCHEZ stated
that the caretaker, identified as GARCIA, dropped off food for the people in the house and that the
females staying at the house would cook the food for everyone

' Through an official CBP photo lineup, SANCHEZ was able to identify the man that would drop the ’
food off as Juan Rafael GARClA-Almaguer. ,

SOLANO, a citizen of Guatemala, stated he paid $5,000 USD upfront for his smuggling 1
arrangements After crossing the river along with other subjects, SOLANO stated he was

eventually transported to the house where he was later arrestedi At the house, SOLANO stated a
male subject would provide food. SOLANO claims he saw the man take food a couple of times.
SOLANO further stated there was not enough food for everyone in the house and that the house

was in very poor living conditions.

Through an official CBP photo lineup, SANCHEZ was able to identify the man that would drop the
food off as Juan Rafael GARCIA-Almaguer.

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